IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NORTHEASTERN DIVISION
JOHN SCOTT MAAS, )
)
Plaintiff, )
)
v. “ ) Civil Action No. 2:20-cv-00051
) Judge Waverly D. Crenshaw, Jr.
BP EXPLORATION AND PRODUCTION, ) Magistrate Judge Alistair Newbern
INC. and BP AMERICA PRODUCTION )
COMPANY, )
)
Defendants. )

PLAINTIFF’S RULE 26 EXPERT DISCLOSURE OF CHARLES J. WRAY, M.D.

1. The undersigned, Charles J. Wray, M.D., is a licensed medical doctor, specializing
in pulmonology, and presently affiliated with the Frist Clinic, 330 23" Avenue North, Suite 500,
Nashville, Tennessee 37203 (Telephone: 615-342-5900). Attached as Exhibit “1” is my current
Curriculum Vitae which I affirm to be complete and current to the best of my knowledge. The
publications which I have offered are described on my attached CV. I have not offered actual court
testimony in any case in the four years preceding this affidavit.

2. I have treated John Scott Maas (DOB: 02-08-1963) for “severe asthma and
restrictive lung disease” since 2019. He remains under my care. Attached as Exhibit “2” are my
office treatment notes reflecting Mr. Maas’ diagnosis and treatment plan, including an earlier
statement to Mr. Maas’ counsel reflecting my opinion, and my advice to Mr. Maas that the
“probable” source of his severe pulmonary problems was his repetitive exposure to a chemical oil
dispersant known as “Corexit.” Mr. Maas has affirmed that he was regularly exposed to Corexit

on a daily basis, for approximately twelve (12) hours per day for two (2) months,

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3.

regarding the reasoning behind my chart notes and my opinions regarding medical causation.
Please note that, for purposes of every opinion that I have expressed, I preliminarily have
accepted as factually complete and correct both Mr. Maas’ statements about his exposure to
Corexit; his history of no prior respiratory issues; and the findings in the records of other
physicians who have previously treated and diagnosed Mr. Maas. Should it be determined
that those facts are not accurate or complete, I would reserve the right to alter my opinions

accordingly. My diagnosis and treatment are based upon what appear to be credible and complete

I have been asked to provide a more detailed statement reflecting my opinions

information regarding the etiology of Mr. Maas’ present severe respiratory debilitation.

4,

following:

(a)

(b)
(c)
(d)
(e)

(f)

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In formulating the details contained in this disclosure, I have relied upon the

My own medical chart for Mr. Maas attached as noted above (Zip Drive,
Ex: 2);

Environmental Protection Agency Material Safety Data Sheets for Corexit:
The Affidavit of John Scott Maas;
A draft of the statement of Dr. Veena B. Antony;

Treatises describing the principles and methodology used by Corexit
medical researchers in defining the minimal level of exposure to Corexit
that will create harm to the human respiratory system. That includes, but is
not limited to, a treatise authored by Dr. Veena B. Antony (University of
Alabama at Birmingham Medical F acility) entitled “Heme Oxygenase-
1 Protects Corexit 9500A-Induced Respiratory Epithelial Injury across
Species,” Veena B. Antony, et al., published April 2, 2015, copy
attached, and incorporated herein by reference (Zip Drive, Ex. 2);

Accepting, for purposes of my opinions, the accuracy and completeness
of the facts related by Mr. Maas, it is my opinion, upon a standard of
reasonable medical certainty, that it is “likely” or “more probable than not”
that Mr. Maas’ exposure to Corexit that was sprayed from the air, or burned
in combination with crude oil, produced aerosolized exposure in sufficient
quantities to cause damage to the epithelial cells of the respiratory system

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based upon the biologic mechanism described in the attached treatise,
incorporated herein by reference, the damage to the epithelial cells produces
an inflammatory response to the respiratory cells, which may produce a
swelling that may inhibit respiratory function.

(g) As to the methodology used in describing the biologic plausibility of the

respiratory harm resulting from even minimal ingestion of Corexit, I accept
the findings of Dr. Antony’s research treatise, and incorporate the contents,
attached hereto.

5. Mr. Maas claims he is not, and has never been, a smoker. His records demonstrate
no family history of COPD, asthma or other respiratory conditions. From a differential diagnosis
perspective, no medical records have been reviewed by me which suggest a prior history of any
type of pre-existing respiratory problems prior to his exposure to the Corexit. Corexit is a known,
well-documented chemical irritant that, upon exposure, produces burning of the areas exposed,
including the eyes, nose, throat, and chest (see attached the Manufacturer’s EPA Material Safety
Data Sheet). Reliable and trustworthy research confirms the biological mechanism, as detailed in
the attached affidavit. In Mr. Maas’ case, it is probable that his chemically-induced asthma
commenced with his described (see affidavit) 2010 Corexit intense exposure in which he describes
(12 hours per day for about two months). The resulting harm has progressed, with age, to the point

of respiratory debilitation. The specific diagnosis, based upon the exposure to breathing of Corexit,

is “severe asthma and restrictive lung disease.” The research reviewed suggests that his level

of epithelial cell respiratory damage caused by Corexit may require very minimal respiratory
ingestion, much less daily regular breathing of the aerosolized or burning fumes of Corexit. Air
quality testing in the zone that was patrolled and cleaned by Mr. Maas and his crew have been
helpful in elaborating on that aspect of the causation issue, but (reportedly) that information has
been requested from BP and not provided. Of greater diagnostic importance, it is significant to

note that the individual variations in cell damage may idiopathically occur in certain individuals

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for reasons not known or unknowable (see attached Antony treatise). Depending on the highly
individualized response, Corexit may induce the expression of Heme Oxygenase-1 (HO-1), a cyto-
protected enzyme with anti-apoptotic and anti-oxidant activity in the human bronchial airway
epithelium. That substance is a protectant against Corexit-induced inflammation and cellular
apoptosis. Otherwise stated, the ability of certain individuals to generate that protective substance,
in response to the Corexit-induced inflammation, may define the ability of some individuals to
avoid or delay long-term permanent respiratory problems, while other individuals (who
idiopathically do not produce the same HO-1 response) may suffer serious respiratory harm.
Concisely, it is my opinion that any breathing of the highly toxic, chemical irritant “Corexit” may
cause permanent respiratory harm, particularly in individuals who idiopathically are more
susceptible to that damage than others who may be natural resistant. Certainly, without doubt, if

Mr. Maas is correct in his claim that he and his crew members personally observed the spraying

of Corexit from airplanes, in their immediate vicinity, and that they immediately experienced
severe eye, nose and throat burning, that exposure is certainly enough to cause the type of
chemically-induced asthma presently suffered by Mr. Maas, and as described in the Corexit

research treatises that I have reviewed (copies attached).
6. The biologic mechanism supporting the likelihood of injury from repeated exposure
to Corexit is concisely described in the following quotation from the attached treatise researched

and co-authored by Dr. Antony:

“Having established that CE (Corexit) exposure induces apoptosis of
epithelial cells, we next investigated the underlying molecular mechanisms causing
cell death. Overproduction of ROS can cause apoptosis by inducing mitochondrial
dysfunction and subsequent release of pro-apoptotic factors and ROS directly
induces capese-free-dependent apoptosis. Intracellular ROS generation was
evaluated by pre-incubating BEAS-2B cells with a fluorescent probe, DCFDA,
which can be oxidized by H202. ROS generation was augmented after three hours
of exposure to CE (Corexit) in a dose-dependent manner. ... Our results suggest

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cell death. Overproduction of ROS can cause apoptosis by inducing mitochondrial
dysfunction and subsequent release of pro-apoptotic factors and ROS directly
induces capese-free-dependent apoptosis. Intracellular ROS generation was
evaluated by pre-incubating BEAS-2B cells with a fluorescent probe, DCFDA,
which can be oxidized by H202. ROS generation was augmented after three hours
of exposure to CE (Corexit) in a dose-dependent manner. ... Our results suggest
that ROS production and oxidative stress lead to apoptosis in epithelial cells
exposed to CE (Corexit).” Antony, copy attached, p. 7 of 16.

7. As Mr. Maas’ diagnosing and treating pulmonologist, it is my opinion, based upon
reasonable medical certainty, that it is probable that the level of exposure described by Mr. Maas
to aerosolized (by spraying or burning) Corexit-saturated crude oil, was substantially sufficient
exposure to cause harm to the epithelial cells of Mr. Maas’ airways, resulting in a progressive
decline (as he has aged) in his respiratory function. I support the treatise findings describing the
“general causation” considerations confirming that even minimal Corexit exposure can cause

severe cell damage that is irreversible in some individuals, based upon their individual propensities

to resist that cellular damage by their ability to respond to the chemically-induced inflammation
by a naturally occurring protective agent, HO-1. Corexit is an acknowledged, highly toxic
chemical irritant to human contact, particularly the sensitive respiratory airways. In Mr. Maas?
case, the facts summarized suggest no basis for any differential diagnosis, leading to the
“probable” conclusion (more likely than not) that his claimed daily exposure to Corexit for two
months in the Summer of 2010 damaged the epithelial cells in his respiratory system, producing
the present diagnosis of chemically induced asthma and resulting restrictive lung disease.

WITNESS MY HAND this the_8*4 day of Pxpe7\ 2021.

CMAs

Charles J. Wray, MLD.

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Prepared by:

BURGER, SCOTT & McFARLIN

/s/Wm. Kennerly Burger

Wm. Kennerly Burger, BPR #3731
Attorney for Plaintiff

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CERTIFICATE OF SERVICE

I hereby certify that a true and exact copy of the foregoing was forwarded, via electronic
filing, to the following: Howard E. Jarvis ( hjarvis@maronmarvel.com), Maron, Marvel, Bradley,
Anderson & Tardy, LLC, 12144 Southwick Circle, Farragut, TN 37934, on this the Gtu day of

hOR \L.___, 2021.
tuo

/s/Wm. Kennerly Burger
Wm. Kennerly Burger

cc: Mr. Christian K. Burger
Ms. Claire Burger Perkins
Mr. Trey McFarlin
Mr. John Scott Maas

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Charles Jackson Wray, MD

The Frist Clinic ¢ 300 23 Avenue North ¢ Suite 500 © Nashville, TN 37203 © 615-342-5900

EDUCATION: e University of California San Diego - San Diego, CA
Pulmonary & Critical Care Fellow, 2004-2007

e Vanderbilt University School of Medicine - Nashville, TN
Hugh J. Morgan Chief Resident in Internal Medicine, 2003-2004
Internal Medicine Resident, 2000-2003
M.D., May 2000

¢ Dartmouth College - Hanover, NH
B.A. in Engineering Sciences, Minor in French, June 1996

EMPLOYMENT: © The Frist Clinic - Nashville, TN
Pulmonary, Critical Care, & Sleep Medicine, 2007-Present

° Escondido Pulmonary Group - Escondido & Poway, CA
Pulmonary & Critical Care Locum Tenens, 2005-2006

e San Diego VA Medical Center - La Jolla, CA
Emergency Room Attending Physician, 2005-2006

¢ Kindred Hospital - San Diego, CA
Evening Physician, 2005-2006 _ Repti rire

¢ Skyline Medical Center - Nashville, TN
Evening Physician, ICU, 2003-2004

LEADERSHIP: e Director, Quality Program
Select Specialty Hospital Nashville, 2021-Present

° Director, Pharmacy & Therapeutics Program
Select Specialty Hospital Nashville, 2007-2021

¢ Member, Medical Executive Committee “coo css eee
Select Specialty Hospital Nashville, 2007-Present ae es
¢ Member, Centennial Medical Staff Association Finance Committee

Centennial Medical Center Nashville, 2018-Present

e Member, Medical Executive Committee
Centennial Medical Center Nashville, 2015-2020

RESEARCH: e Hemodynamic Predictors of Post-Operative Outcomes following Pulmonary
Thromboendarterectomy for Chronic Thromboembolic Pulmonary Hypertension.

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Charles Jackson Wray, Page 2

PUBLICATIONS:

¢ Wray CJ, Auger WA. Evaluation of patients for pulmonary endatteréctoniy:i Semin
Thorac Cardiovasc Surg 2006; 18:223-9, Rin my wees

° Wray CJ, Morris TA. Thromboembolic disease: therapy. In: Bordow RA, Ries AL,
Morris TA, eds. Manual of clinical problems in pulmonary medicine. 6" edition,
Philadelphia, PA: Lippincott Willams & Williams, 2005.

PRESENTATIONS: «

“Use of Omalizumab for Cessation of Corticosteroid Therapy in a Patient with
Sarcoidosis, Aspergillomas, Long-Standing Asthma, and Allergic ee ay
Bronchopulmonary Aspergillosis.” Western Region American Federation for”
Medical Research Meeting. Carmel, CA. Feb 2006. "

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¢ “Pulmonary Vascular Resistance and Pulmonary Thromboendartecectomy:.A,...
Prospective Study.” American Thoracic Society International mo

Conference. San Francisco, CA. May 2007. . zm ag Ab.
don
¢ “Correlation between Preoperative Fractional Pulse Pressure and Early
Hemodynamic Outcomes after Pulmonary Thromboendarterectomy.” American

Thoracic Society International Conference, San Francisco, CA, May 2007.

« “Preoperative Clinical Predictions of Early Postoperative Hemodynamic Outcotiies
after Pulmonary Thromboendarterectomy.” American Thoracic Society > f 77"
International Conference. San Francisco, CA, May 2007. =

LICENSURES &

CERTIFICATIONS:

¢ Tennessee Medical License

* Board Certification in Internal Medicine, August 2003

° Board Certification in Pulmonary Disease, October 2007 i.
° Board Certification in Critical Care Medicine, November 2008 _
* Board Certification in Sleep Medicine, November 2009

HONORS:

e American Federation for Medical Research Pulmonary and Critical Care Award,
2006 COME

¢ General Internal Medicine Outstanding Resident Award, Vanderbilt, 2002 '

e Tom E. Nesbitt Award for Character & Leadership, Vanderbilt, 2000 So

° Benjamin F. Byrd Cardiovascular Research Award (AHA), T9QT EE" teenie sie

° Magna Cum Laude Graduate, Dartmouth College, 1996 oe me sees ’
¢ Philip R. Jackson Award for Improved Safety Device, Dartmouth College, 1995

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RECORDS

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WRAY AFFIDAVIT EX. 2

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